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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

JAMES P. HICKMAN ia

+ Civil No. CCB-18-1855
v.

LINDA BROWN RIVELIS, ez al.

ok oe oe a oR eR oR Se oR ok oko ok

ORDER

At the request of the parties, and in light of the automatic stay provision as to claims against
defendant VSOP, LLC, which has filed a voluntary petition for bankruptcy, it is hereby Ordered
that:

1. This case is STAYED; and

2. this case is Administratively closed, subject to reopening when the bankruptcy case is

concluded or otherwise for good cause shown.

5 [2 LF (cf
te Catherine C. Blake

United States District Judge

 
